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 5    310-556-1001 Tel
      310-277-3325 Fax                                        DENIED
 6                                                  BY ORDER OF THE COURT
      Attorneys on behalf of Law Offices of
 7    Ronald Richards & Associates, A.P.C., the
      general public, the media, and those similarly
 8    situated
 9
                          UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11
12
      UNITED STATES OF AMERICA                Case No: SA CR 19-061-JVS
13
14
15                    Plaintiff,              (PROPOSED ORDER) ON REQUEST
16                                            FOR REMOTE PUBLIC ACCESS VIA
              v.                              A CALL IN NUMBER OR ZOOM
17                                            CALL IN
      MICHAEL JOHN AVENATTI,
18
                       Defendant
19
20
     The Court, after considering the request for a remote public access number, hereby
21
     directs the Clerk of the Court to provide the public a listen only dial in number and
22
     docket the information in order for the public to remotely listen to the trial. The
23
     Clerk may adopt any other medium consistent with this order including zoom or
24
     other platforms that works for the Court’s IT system.
25
26
                                                       DENIED
     7/9/21                                 ______________________
                                            BY ORDER OF THE COURT
27                                          James V. Selna
                                            United States District Court Judge
28


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